Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7022 Page 1 of 9



  1   Matthew Hrutkay (SBN 297485)
  2   HRUTKAY LAW PC
      600 W. Broadway, Suite 700
  3   San Diego, CA. 92101
  4   matt.hrutkay@hrutkaylaw.com; 858.868.0018

  5   Philip C. Tencer (SBN 173818)
      TENCER SHERMAN LLP
  6
      12520 High Bluff Drive, Suite 230
  7   San Diego, CA 92130
      Phil@TencerSherman.com; 858.408.6900
  8

  9   Attorneys for Plaintiff
      CHRISTOPHER RICHMOND
 10
 11
                        UNITED STATES DISTRICT COURT FOR THE
 12
                           SOUTHERN DISTRICT OF CALIFORNIA
 13
 14    CHRISTOPHER RICHMOND, an                       Case No: 3:20-cv-01925-W-KSC
 15    individual,
                   Plaintiff,                         DECLARATION OF MATTHEW
 16                                                   HRUTKAY IN SUPPORT OF
                   v.                                 PLAINTIFF’S OPPOSITION TO
 17
                                                      DEFENDANTS’ REQUESTS FOR
 18    DAVID MIKKELSON, an individual;
                                                      ATTORNEYS’ FEES PURSUANT
       BRAD WESTBROOK, an individual;
 19                                                   TO ECF 38
       and DOE DEFENDANTS 1-10,
 20    inclusive,
                  Defendants,                         Judge:           Hon. Thomas J. Whelan
 21                                                   Dept.:           3C
       and                                            Mag. Judge:      Hon. Karen S. Crawford
 22
                                                      Action filed:    September 25, 2020
 23    SNOPES MEDIA GROUP, INC.
              Nominal Defendant.
 24
 25
 26
 27

 28
                                                  -1-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.               CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7023 Page 2 of 9



  1           I, Matthew Hrutkay, declare as follows:
  2           1.    I am an attorney in good standing in the State of California and in the
  3   State of New York, and the principal of Hrutkay Law, PC, counsel of record for
  4   plaintiff Christopher Richmond in the present action. I am admitted to practice
  5   before all courts in California as well as in the Southern District of California. I
  6   submit this declaration in support of plaintiff’s opposition to the fee requests related
  7   to the Court’s Rule 11 Order (ECF 38) filed by defendants Snopes Media Group,
  8   Inc. (ECF 42) and by defendant David Mikkelson and Brad Westbrook (the
  9   Individual Defendants) (ECF 43). Unless otherwise stated, I have personal
 10   knowledge of the facts set forth in this declaration. If called to testify, I could and
 11   would competently testify to such facts.
 12           2.    I attended the Benjamin N. Cardozo School of Law at Yeshiva
 13   University in New York, New York, graduating on June 1, 2010. While waiting for
 14   New York bar exam results, I began working as a law clerk at the New York law
 15   firm of Kasowitz, Benson, Torres & Friedman, LLP, now Kasowitz Benson Torres
 16   LLP, in September 2010. After being admitted to the New York Bar in April 2011,
 17   I was promoted to an associate at the firm, where I continued to practice until mid-
 18   2015.
 19           3.    I took the California bar exam in February 2013. I was admitted to the
 20   California State Bar in June 2014, but continued to live and practice in New York
 21   for another four years, including working at the New York law firmLabaton
 22   Sucharow LLP. I moved to San Diego in 2018 to work as an attorney with
 23   Troutman Sanders LLP (now Troutman Pepper) and, inspired by the entrepreneurs I
 24   met, launched my own practice in 2019.
 25           4.    I have represented mostly plaintiffs in high-profile, high-risk complex
 26   business litigation in state and federal courts, including in this district, and have
 27

 28
                                                  -2-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.            CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7024 Page 3 of 9



  1   been able to help several relatively small clients pursue multi-million dollar
  2   securities fraud class actions against powerful, Fortune 500 corporations.
  3          5.     I am also proud to have been able to volunteer hundreds of hours of
  4   pro bono legal work, including with grassroots organizations such as Immigration
  5   Equality, the San Diego Volunteer Lawyer Program, and the Chicano Federation of
  6   San Diego County, among others.
  7          6.     I was recognized by Super Lawyers® as a New York Rising Star in
  8   2017, 2018, and 2019 and as a San Diego Rising Star in 2021, and by the San
  9   Diego Business Journal in 2020 as a “Leaders in Law” finalist.
 10          7.     I provide this information only so the Court has a more complete
 11   picture of my ten-year career, whose arc and trajectory appeared to be ascending
 12   before the Court’s Rule 11 Order. I also provide it now because, when defendants
 13   filed their respective Rule 11 motions, I was hospitalized due to a motorcycle
 14   accident, and only managed to submit a short declaration in support of plaintiff’s
 15   opposition at that time, despite what would have been more than sufficient time if I
 16   had not been severely injured.
 17          8.     Specifically, while riding a motorcycle on January 17, 2021, I was hit
 18   by a car going approximately 60 miles per hour, and was air-lifted to Palomar
 19   Medical Center with a shattered left ankle, left knee, and left hand. I was an
 20   inpatient until February 2, 2021, and during this time, five orthopedic surgeries
 21   were performed. I was in the hospital at the time that defendants’ Rule 11 Motions
 22   were filed. And although defendants graciously stipulated to extend my briefing
 23   deadline to accommodate some of the uncertainty surrounding my treatment, I
 24   understand in retrospect that my injuries and treatment impacted my ability to
 25   provide this Court with sufficient information to establish my and my client’s good
 26   faith in filing this action.
 27          9.     Although I accept the Rule 11 Order as this Court’s final decision on
 28   the issue, I nonetheless continue to believe that I did not violate Rule 11 because,
                                                  -3-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.          CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7025 Page 4 of 9



  1   unlike the rare instances in which attorneys have been sanctioned for filing
  2   frivolous pleadings, I took certain steps to ensure that filing the complaint in this
  3   action was not legally baseless. Specifically, I conducted my own legal research
  4   into the primary rights doctrine, and took the additional step of recommending that
  5   plaintiff retain Philip Tencer as counsel for Plaintiffs in July and August 2020 to
  6   provide his independent opinion and evaluation as a more seasoned attorney and
  7   experienced trial lawyer.
  8          10.    In fact, having been the plaintiffs’ sole counsel in the State Action
  9   since only September 2019, I asked for Mr. Tencer’s association in the State Action
 10   and the present action to provide an objective third-party perspective to issues
 11   arising in the litigation, including strategic concerns about whether to pursue certain
 12   claims, and if so, how those claims should be pursued within the bounds of the law.
 13   He and I discussed the claims, and the fact that they were only ascertainable
 14   following plaintiff Richmond’s receipt in the Spring of 2020 of the evidence of
 15   damage to Snopes and its shareholders, namely Company’s 2017, 2018, and
 16   eventually 2019 income tax returns and financial statements for 2019. Based on
 17   this, our independent legal research, and our respective understanding of how to
 18   apply the doctrine of res judicata pursuant to the “primary rights” doctrine under
 19   California law, we sincerely believed and understood in good faith that there was a
 20   credible basis to bring the claims in the present action. Though I, and, on
 21   information and belief, Mr. Tencer, understood that there was a risk that a court
 22   may disagree with us and dismiss the claims as being barred by the previous State
 23   Action, neither of us believed that our conduct came close to violating Rule 11, our
 24   ethical obligations as advocates, or our responsibilities as officers of this Court.
 25          11.    In fact, plaintiffs and I only asked for Mr. Tencer’s assistance—at
 26   additional expense—because I know him to be a well-respected litigator and
 27   experienced trial lawyer with more than 20 years of experience litigating in federal
 28   courts, and I appreciated his independent judgment, evaluation, and opinions.
                                                  -4-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.            CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7026 Page 5 of 9



  1          12.    Throughout this litigation, and throughout my representation of
  2   Plaintiffs in the State Action since September 2019, I have acted in good faith to be
  3   a strong advocate for plaintiff Richmond, the other Plaintiffs in the State Action, as
  4   well as for Snopes’ shareholders more generally. Having initially appeared in the
  5   State Action only after the anti-SLAPP decision was granted, I understood plaintiff
  6   Richmond’s frustration that Snopes was seemingly being used as a piggy bank to
  7   pursue its management’s personal claims against, among others, Richmond,
  8   Schoentrup, Proper Media, LLC, and PubLife, LLC. Therefore, after plaintiff
  9   Richmond was finally provided with financial information in May 2020 that
 10   showed the harm to the Company and its shareholders from the advancements and
 11   the related improper income tax deductions, I consulted with Mr. Tencer to
 12   consider whether new claims might be appropriate and brought without being
 13   barred.
 14          13.    Notably, I understood that further advancements had been made by
 15   Snopes since the order granting the anti-SLAPP motions in the State Action, and
 16   that plaintiff Richmond now possessed plain evidence of actual injury to Snopes
 17   and its shareholders as a result of the advancements and the deduction of those
 18   advancements. The trial court in the State Action had granted the Anti-SLAPP
 19   Motion in part, because plaintiffs there had been unable to show actual harm to the
 20   Company. Based on this, I drafted the complaint and allegations in this action with
 21   consultation from Mr. Tencer in an effort to advocate for our client with respect to
 22   these newly discovered injuries, which I believed raised different primary rights
 23   than those asserted in the State Action.
 24          14.    While I have previously enjoyed developing and strategically drafting
 25   legal claims for my clients as a way to advance the best goals of civil litigation,
 26   defendants’ successful characterization of my advocacy into harassment, frivolity,
 27   and abuse of the judicial system has made me reconsider my judgment, my
 28   abilities, and my suitability to this profession. Since the Court’s Rule 11 Order, I
                                                  -5-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.           CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7027 Page 6 of 9



  1   have experienced significant doubt and anxiety about my abilities as a lawyer. I am
  2   at a loss to understand the ultimate outcome of my good-faith advocacy based on
  3   what I believed to be a reasonable understanding of relevant res judicata
  4   jurisprudence. Based on the proceedings to date, I have concluded that the benefits
  5   of good-faith, zealous advocacy do not appear to be worth the risk of having my
  6   actions and character impugned by my clients’ adversaries. As a result, I question
  7   the viability of a career as a litigator, with my credibility and reputation in shreds,
  8   and anticipate the need to exit the legal profession in the near future, likely by the
  9   end of 2022. As of now, I do not intend to file another complaint or initiate new
 10   proceedings on behalf of any client, and certainly will not be filing any additional
 11   complaints involving any of the parties to the present action or the State Action. My
 12   only hope is that the Court finds some evidence of objective good faith and creative
 13   advocacy here, including so I can avoid further disciplinary consequences.
 14           15.   Although my solo practice has been stable and sustainable over the
 15   course of two years, it is modest and far from a lucrative business, particularly in
 16   the middle of a pandemic. For example, my gross revenues in 2020 were
 17   approximately $174,000, substantially less than the collective amount of
 18   defendants’ fee requests. My billable rate in this matter is $350/hr. My income
 19   allows me to meaningfully contribute to my family’s needs, but is significantly less
 20   than my previous earnings at Troutman Sanders, Labaton Sucharow, and Kasowitz,
 21   Benson, Torres, and Friedman. Although I maintain an address in downtown San
 22   Diego, the office that I work from is on Main Street in Julian, California, near my
 23   home.
 24           16.   I have no sources of income other than my practice, and have no
 25   meaningful assets beyond my 2002 and 2010 vehicles and my retirement account. I
 26   paid for law school using money from the GI bill and private loans which I
 27   continue to pay monthly. My overall liabilities are approximately $100,000
 28   including student loans.
                                                  -6-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.            CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7028 Page 7 of 9



  1          17.    As a solo practitioner, I am very aware of the impact of an order
  2   granting Rule 11 sanctions on an attorney’s career prospects and ability to continue
  3   practicing law as a practical matter. Not only am I seriously concerned about
  4   whether increases in my professional liability insurance premiums will make the
  5   practice of law cost-prohibitive, I also understand that the Court’s findings will
  6   ultimately have an impact on my current and potential clients, providing their
  7   adversaries with new and creative ways to chip away at my clients’ credibility
  8   before any court. Anyone with access to Westlaw, Lexis, or similar services can
  9   create doubt about my personal credibility and that of my clients. I fully expect
 10   Snopes and any other current and future advocacy to use this Court’s findings
 11   against me to characterize me as untrustworthy. I expect that even without any
 12   monetary sanctions being awarded, it will be difficult to maintain previous revenue
 13   expectations or goals for growth. Whereas I was extremely optimistic about my
 14   practice and overall goals at the beginning of 2021, I now have little hope that it
 15   will be sustainable in the long run. Since the Court’s Rule 11 Order, I have
 16   experienced repeated bouts of anxiety, depression, and insomnia which has been
 17   magnified by defendants’ collective request for more than $270,000 in fees.
 18          18.    Despite these difficulties, I continue to believe based on my
 19   investigation and consultation with co-counsel that the claims in the present action
 20   protect distinct rights from those raised or adjudicated in the State Action pursuant
 21   to the Anti-SLAPP orders, because new facts and information (unavailable to the
 22   Plaintiff Richmond until Spring 2020) came to light providing evidence of
 23   damages and additional harm to Snopes and its shareholders. That information
 24   provided information necessary to pursue the claims in this action, concerns harm
 25   to a separate and distinct private right than those litigated in the State Action.
 26          19.    To put things in further context, I, as a solo practitioner, took on
 27   collective power of more nine legal professionals, including eight attorneys and a
 28   paralegal, because of my sincerely-held belief that I was proceeding in good faith.
                                                  -7-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.            CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7029 Page 8 of 9



  1   Defendants convinced this Court that I was wrong, but I still see no evidence that
  2   they established my subjective bad faith or ill intent.
  3          20.    On November 5, 2021, I received an email from Paul Tyrell, counsel
  4   for Snopes in this and the State Action. Tyrell’s email attached a link to a website
  5   containing a limited amount of financial information, including Snopes’ Profit and
  6   Loss Statements for 2016-July 2021, Balance Sheet for 2016-July 2021, and a
  7   printout of general ledger entries (with significant redactions). Tyrell did not
  8   include other materials requested by Richmond pursuant to his directors’ inspection
  9   rights, including, but not limited information concerning the impact of the August
 10   13, 2021 BuzzFeed article detailing Mikkelson’s plagiarism on Snopes’ readership,
 11   revenues, and credibility, and concerning the internal investigation that Snopes
 12   referred to extensively in that article.
 13          21.    The State Action between the parties has been particularly hard fought,
 14   with nearly 1500 docket entries and requests from Procopio and Gordon Rees for
 15   $450,000 in attorneys’ fees pursuant to that court’s anti-SLAPP decision
 16   (approximately $185,000 incurred by Snopes and $265 incurred by Mikkelson).
 17          22.    Mr. Richmond and the other Plaintiffs in the State Action have
 18   attempted to end such aggressive litigation through multiple settlement proposals,
 19   and have requested several times that the parties engage in either formal or informal
 20   mediation. Those efforts have been consistently rebuffed. Nonetheless, my clients
 21   maintain hope that the parties will ultimately resolve their respective disputes
 22   through a negotiated resolution, and avoid the financial and other costs associated
 23   with proceeding to trial in that litigation.
 24          I declare under penalty of perjury under the laws of the United States and the
 25   State of California that the foregoing is true and correct. This declaration was
 26   executed on November 16, 2021, at Julian, California.
 27

 28                                                       By: _________________________
                                                  -8-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.              CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-1 Filed 11/16/21 PageID.7030 Page 9 of 9



  1                                                       MATTHEW HRUTKAY
  2
  3
  4
  5
  6
  7
  8

  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22

 23
 24
 25
 26
 27

 28
                                                  -9-
      HRUTKAY DECL. ISO P’s OPP. TO FEE REQUESTS et al.       CASE NO. 3:20-CV-01925-W-KSC
